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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


ROBERT KIRGIN                               )
                                            )
               Plaintiff,                   )    Case Number
                                            )
       vs.                                  )
                                            )    CIVIL COMPLAINT
FIRST CREDIT SERVICES, INC.                 )
d/b/a/ ACCOUNTS RECEIVABLE                  )
TECHNOLOGIES, INC.                          )
                                            )    JURY TRIAL DEMANDED
               Defendant.                   )



                            COMPLAINT AND JURY DEMAND


       COMES NOW, Plaintiff, Robert Kirgin, by and through his undersigned counsel,

Bruce K. Warren, Esq. and Brent F. Vullings, Esq. of Warren & Vullings, LLP,

complaining of Defendant and respectfully avers as follows:




                       I.         INTRODUCTORY STATEMENT


       1.      Plaintiff, Robert Kirgin, (hereinafter “Plaintiff”), an individual consumer,

brings this action for actual and statutory damages and other relief against Defendant for

violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”)

and various other state laws, which prohibits debt collectors from engaging in abusive,

deceptive and unfair practices.
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                                    II.          JURISDICTION


         2.     Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§1337.

         3.     Venue in this District is proper in that the Defendant transacts business here

and Plaintiff resides in this District.




                                          III.     PARTIES


         4.     Plaintiff, Robert Kirgin (“Plaintiff”) is an adult natural person residing at

3647 Friar Road, Philadelphia, PA 19154.

         5.     Defendant, First Credit Services, Inc. d/b/a Accounts Receivable

Technologies, Inc. (“Defendant”), at all times relevant hereto, is and was a corporation

engaged in the business of collecting debt within the Commonwealth of Pennsylvania with

its principal place of business located at One Woodbridge Center, Suite 410, Woodbridge,

NJ 07095.

         6.     Defendant is engaged in the collection of debts from consumers using the

mail. Defendant regularly attempts to collect consumer debts alleged to be due to another.

Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).




                             IV.     FACTUAL ALLEGATIONS


         7.     On or about the October 8, 2009, Plaintiff began to receive harassing and
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abusive calls from Defendant with regard to an alleged consumer debt, namely an HSBC

MasterCard account.

       8.      Defendant’s agents have called Plaintiff 51 times in 12 days, from October

8, 2009 up to and including October 20, 2009.

       9.      Defendant’s agents have left voicemail messages that violate the FDCPA.

       10.     In several of the aforementioned voicemail messages, Defendant’s unknown

male agent uses a condescending tone of voice and states “Have the courtesy to get back to

us immediately.”

       11.     The voicemail messages left by Defendant’s agent implies that the Plaintiff

is a discourteous person.

       12.     At no time in the aforementioned voicemail messages doe Defendant’s

agent indicate what agency he is calling from, state who he is or give the mini-Miranda.

       13.     Defendant, by and through its agents continues to call Plaintiff repeatedly

and excessively.

       14.     Defendant’s constant and excessive telephone calls are harassing and

abusive to Plaintiff and violate the FDCPA.

       15.     Additionally, Defendant’s agent’s communications falsely represent that

Plaintiff has conducted himself in a manner that is disgraceful.

       16.     The Defendant acted in a false, deceptive, misleading and unfair when they

engaged in conduct the natural consequence of which is to harass, oppress or abuse such

person in connection with the collection of a debt.
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       17.     The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

their agent’s actions within compliance of the FDCPA, but neglected to do so and failed to

adequately review those actions to insure compliance with the law.

       18.     At all times pertinent hereto, Defendant was acting by and through it agents,

servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

       19.     At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in

wanton disregard for federal and state law and the rights of the Plaintiff herein.



                                 COUNT ONE – FDCPA.


       20.     The above paragraphs are hereby incorporated herein by reference.

       21.     At all times relevant hereto, Defendant was attempting to collect an alleged

debt which was incurred by Plaintiff for personal, family or household purposes and is a

“debt” as defined by 15 U.S.C. § 1692a(5).

       22.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of 15 U.S.C. § 1692:

               a.      c(a)(1) Defendant’s agents contacted Plaintiff at an unusual time

known to be inconvenient to Plaintiff;

               b.      d Defendant’s agents’ conduct was harassing, oppressive and

abusive toward Plaintiff;
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                   c.     d(5) Defendant’s agents caused the phone to ring and attempted to

engage the Plaintiff in conversation repeatedly;

                   d.     d(6) Defendant’s agents failed to disclose their identity to Plaintiff;

                   e.     e Defendant’s agent used false, deceptive and misleading

representations to attempt to collect the alleged debt from Plaintiff;

                   f.     e(7) Defendant’s agent falsely represented that Plaintiff had

conducted himself in a manner which was disgraceful;

                   g.     e(10) Defendant’s agent used false representation or deceptive

means to attempt to collect the alleged debt from Plaintiff;

                   h.     f Defendant’s agents were unfair and unconscionable in their

attempts to collect the alleged debt from Plaintiff.

        WHEREFORE, Plaintiff respectfully requests that this court enter judgment in his

favor and against Defendant, First Credit Services, Inc. d/b/a Accounts Receivable

Technologies, Inc. and Order the following relief:

        a.         Declaratory judgment that the Defendant’s conduct violated the FDCPA;

        b.         Actual damages;

        c.         Statutory damages pursuant to 15 U.S.C. §1692k;

        d.         Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k;

and

        e.         Such addition and further relief as may be appropriate or that the interests of

justice require.
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                              COUNT TWO – PA FCEUA
        PENNSYLVANIA FAIR CREDIT EXTENSION UNIFORMITY ACT
                        (PA FCEUA, 73 Pa. C.S. § 2270.1 et seq.)


       23.     Plaintiff repeats, re-alleges and incorporates by reference the foregoing

paragraphs.

       24.     The collection of a debt in Pennsylvania is proscribed by the Fair Credit

Extension Uniformity Act at 73 Pa. C.S. § 2270.1 et seq., (“PA FCEUA”) and the

Pennsylvania Unfair Trade Practices and Consumer Protection Law 73 Pa. C.S 201-1 et

seq. (“PA UTPCPL”). Defendant is a debt collector pursuant to 73 Pa. C.S. § 2270.3.

       25.     The alleged debt Defendant was attempting to collect is a debt as defined by

73 Pa. C.S. § 2270.3.

       26.     The PA FCEUA proscribes, inter alia, engaging in any false, misleading or

deceptive representations when attempting to collect a consumer debt.

       27.     The actions of Defendant, as aforesaid, constitute false, misleading or

deceptive representations.

       28.     Violations of the FDCPA is a per se violation of the PA FCEUA and the PA

UTPCPL.

       29.     As a direct and proximate result of the said actions, Plaintiff has suffered

financial harm.

       30.     By virtue of the violations of the law as aforesaid, and pursuant to the PA

FCEUA and PA UTPCPL, Plaintiff is entitled to an award of actual damages, treble

damages, attorney’s fee and costs of suit.
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        WHEREFORE, Plaintiff prays this Honorable Court enter judgment in his favor

and against Defendant, and Order the following relief:

        a.         Actual damages;

        b.         Treble damages;

        c.         An award of reasonable attorneys fees and expenses and costs of court; and

        d.         Such additional relief as is deemed just and proper, or that the interests of

justice require.



                                COUNT THREE – PA UTPCPL
        PENNSYLVANIA UINIFORM TRADE PRACTICES & CONSUMER
                         PROTECTION LAW
                          (“PA UTPCPL”), 73 Pa. C.S. § 201-1 et seq.


        31.        The foregoing paragraphs are incorporated herein by reference.

        32.        Plaintiff and Defendant are “Persons” to 73 Pa. C.S § 201-2.

        33.        The PA UTPCPL proscribes, inter alia, engaging in any “unfair or deceptive

acts or practices”, either at, and prior to or subsequent to a consumer transaction.

        34.        The action of Defendant, as aforesaid, constitutes unfair acts or practices

under the PA UTPCPL, by way of the following, inter alia:

        a.         Defendant misrepresented to Plaintiff the character, extent or amount of the

debt or its status in a legal proceeding, 73 Pa. C.S. § 201-3.1;

        b.         Defendant engaged in deceptive or fraudulent conduct which created a

likelihood of confusion or of misunderstanding, 73 Pa. C.S. § 201-2(xxi);
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        c.       Defendant failed to comply with the FDCPA and PA FCEUA which are per

se violations of the PA UTPCPL.

        35.      As a direct and proximate result of the said actions, Plaintiff has suffered

financial damages and other harm.

        36.      By virtue of the violations of law aforesaid and pursuant to the pa UTPCPL,

Plaintiff is entitled to an award of actual damages, treble damages, attorney’s fees and

costs of suit.

        WHEREFORE Plaintiff prays this Honorable Court enter judgment in his favor

and against Defendant, and Order the following relief:

        a.       An Order declaring that Defendant violated the pa UTPCPL;

        b.       Actual damages;

        c.       Treble damages;

        d.       An award of reasonable attorney’s fees and expenses and cost of suit; and

        e.       Such additional relief as is deemed just and proper, or that the interest of

justice may require.
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                          V.      JURY DEMAND


Plaintiff hereby demands a jury trial as to all issues herein.



                                       Respectfully submitted,

                                       WARREN & VULLINGS, LLP

Date: October 23, 2009                 BY: /s/ Bruce K. Warren
                                       BY: /s/ Brent F. Vullings
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